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TUAN DAO




                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA,                       Case No. 2:09-cr-0222-TLN
             Plaintiffs,                        STIPULATION AND ORDER
vs.
TUAN DAO,
             Defendant.
                                            /


             It is hereby stipulated and agreed to by the United States of America
through HEIKO P. COPPOLA, Assistant United States Attorney and defendant TUAN
DAO, by and through his attorney, KENNY N. GIFFARD, that the Judgment and
Sentencing set for Thursday, December 18, 2014, be continued to Judgment and
Sentencing on Thursday, March 26, 2015, at 9:30 a.m.
             This continuance is being requested because the defendant was recently
diagnosed with serious heart and liver problems necessitating him to consult with and be
treated by medical specialists. The time requested will allow these evaluations and
treatment to occur before defendant is sentenced and incarcerated.
             Additionally, the defendant, through counsel, has conferred with both the
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Assistant United States Attorney and assigned Probation Officer to remedy discrepancies
found in the Pre-Sentence Report. Those issues in the Pre-Sentence Report prepared in
Mr. Dao’s portion of this case contained factual allegations which were not contemplated
by the parties when the PLEA AGREEMENT was made. Because of those
discrepancies, portions of the Pre-Sentence Report were objected-to by this defendant and
substantially affect the “Offense Level” and potential sentence to be served by Mr. Dao
in this case. Further, the Report will be modified to apply the new sentencing guidelines
approved by the U. S. Sentencing Commission.
              The time requested will allow Mr. Dao to substantially resolve his medical
issues and will also allow the United States Attorney, the Probation Officer, and defense
counsel time to resolve the disputed facts so that the matter may proceed for sentencing.
Dated: December 15, 2014
                                           Respectfully submitted,

                                           /s/ Kenny N. Giffard
                                           KENNY N. GIFFARD
                                           Attorney for Defendant
                                           TUAN DAO

                                           /s/ Kenny N. Giffard for
                                           ______________________________________
                                           HEIKO P. COPPOLA
                                           Assistant U.S. Attorney

                                          ORDER
              Based upon the stipulation of the parties and good cause there appearing,
the Court hereby adopts the stipulation of the parties in its entirety as its order. The
Judgment and Sentencing is set for March 26, 2015, at 9:30 a.m.
Dated: December 16, 2014



                                                     Troy L. Nunley
                                                     United States District Judge
